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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TRUSTEES OF THE NATIONAL ASBESTOS )
WORKERS MEDICAL FUND AND TRUSTEES )
OF THE ASBESTOS WORKERS LOCALS 80 AND )
51 SUPPLEMENTAL PENSION PLAN )
7130 Columbia Gateway Drive )
Suite A )
Columbia, MD 21046, )
)
Plaintiffs, )
)

vs. ) C.A. No.:
)
R. KELLY, INC. )
7645 Production Drive )
Cincinnati, OH 45237 )
)
Serve: Raymond Kelly, Registered Agent )
7645 Production Drive )
Cincinnati, OH 45237 )
)
Defendant. )

M

(FOR BREACH OF COLLECTIVE BARGAINING AGREEMENT,
TO COLLECT CONTRIBUTIONS DUE TO PLAIN'I`IFF FUNDS
AND FOR BREACH OF A SETTLENLENT AGREEMENT)
Jurisdiction
l. This Court has jurisdiction of this action under Sections 502 and 515 of the
Ernployee Retirernent Incon'ie Security Act of 1974, (hereafter "ERISA"), 29 U.S.C. §§ 1132 and
1145, and under Section 301 of the Labor-Managernent Relations Act, 29 U.S.C. § lSS(a). This is
an action for breach of a Collective Bargaining Agreernent between an employer and a labor

organization representing employees in an industry affecting commerce and an action to collect

contributions due to employee benefit plans under the terms of the Collective Bargaining

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Agreement_
ME_S

2. Plaintiffs are the Trustees of the National Asbestos Workers Medical Fund and
Trustees of the Asbestos Workers Locals 80 and 51 Supplemental Pension Plan (hereinafter "NAW
Funds"), multiemployer employee benefit plans as that term is defined in Section 3(3) and 3(37) of
ERISA, 29 U.S.C. § 1002(3) and (37) (as amended). The Plaintiff Funds are established and
maintained according to the provisions of the Restated Agreements and Declarations of Trust
establishing the NAW Funds (hereinafter “Trust Agreements”) and the Collective Bargaining
Agreements between the International Association of Heat and Frost lnsulators and Allied Workers
Local No. 8 (hercinafter "the Union") and the Defendant. The NAW Funds are administered at
713() Columbia Gateway Drive, Suite A, Columbia, MD 21046.

3. Defendant R. Kelly, Inc. is a corporation existing under the laws of the State of Ohio
with offices located in Ohio. Defendant transacts business in the State of Ohio as a contractor or
subcontractor in the sprinkler industry and all times herein was an “employer in an industry
affecting commerce" as defined in Sections 501(1), (3), 2(2) of the Labor-Management Relations
Act, 29 U.S.C. Sections 142(1), (3) and 152(2); Section 3(5), (9), (11), (12), (14) of ERISA, 29
U.S.C. Sections 1002(5), (9), (11), (12), (14); and Section 3 of the Multi-Employer Pension Plan
Arnendrnents of1980, 29 U.S.C. § 1001(a).

COUNT I

4. Defendant entered into a Collective Bargaining Agreement with the Union

establishing terms and conditions of employment for heat and frost insulators employed by the

Defendant.

5. Pursuant to the Collcctive Bargaining Agreement, Defendant agreed to pay to the

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Plaintiff NAW Funds certain sums of money for each hour worked by employees of Defendant
covered by the Collective Bargaining Agreement.

6. Defendant employed certain employees covered by the Collective Bargaining
Agreement during the period of December 2017 through the present.

7. Defendant has failed to pay complete contributions owed to the Plaintiff NAW
Funds for the month of July 2018 resulting in a balance of contributions owed for that month in the
amount of $8,286.96. Pursuant to the terms of the Collective Bargaining Agreement, Defendant is
obligated to submit report forms and pay connibutions owed to the PlaintiffNAW Funds.

8. Defendant has failed to submit reports and pay contributions owed to the Plaintiff
NAW Funds for the months of August and September 2018. Pursuant to the terms of the
Collective Bargaining Agreement, Defendant is obligated to submit report forms and pay
contributions owed to the Plaintiff NAW Funds.

9. Defendant is bound to the Trust Agreements.

10. Pursuant to the Trust Agreements, when an employer fails to file the properly
completed report forms, in order to determine the amounts due, the Plaintiff NAW Funds are
authorized to project the delinquency amount using the following formula:

. . . The Trustees may project as the amount of the delinquency the
greater of (a) the average of the monthly payments or reports actually
submitted by the Employer for the last three (3) months for which
payments or reports were submitted or (b) the average of the monthly
payments or reports submitted by the Employer for the last twelve (12)
months for which payments or reports were submittedl

11. Using report forms submitted for the last three (3) months for which hours were

reported, the projected delinquency for the months of August and September 2018 is $3 5,535.35

calculated as follows:

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Medical Supp. Pension
Month Reported Reported

May 2018 310,591.50 $2,191.00
June 2018 $12,476.48 $2,620.80
July 2018 $20,421.64 $5,001.60

Monthly
Average: 814,496.54 $3,271.13

12. Defendant's contributions on behalf of its heat and frost insulator employees for
the months of December 2017, January 2018 and March 2018 through July 2018 were paid late.
The specific amounts paid and the date in which the Defendant's contributions were received by
the NAW Funds are set forth on the attached breakdown (Exhibit A).

13. Defendant's partial contributions to the Plaintiff NAW Funds owed on behalf of
its heat and frost insulator employees for the month of July 2018 is late and Defendant's
contributions to the Plaintiff NAW Funds owed on behalf of its heat and frost insulator
employees for the months of August and September 2018 are late.

14. The Trust Agreernent establishing the Plaintiff National Asbestos Workers Medical
Fund (“Medical Fund”) provides as follows:

If an Employer fails to file reports or make contributions within ten (10)
calendar days of the due date, there shall be added to and become a part
of the amount due and unpaid: (1) liquidated damages for each monthly
report or payment due to the Fund, in the amount of twenty percent
(20%) of the amount due or 20 dollars, whichever is greater, plus
interest at the rate of eight percent (8%) from the due date to the date of
payment; or (2) interest at the rate of 1 1/2% per month; or (3) double
interest as provided in the Act.

15 . Pursuant to this provision, Defendant is obligated to the Plaintiff l\/Iedical Fund in
the amount of 81,975.73 in interest on the late payments for the months of December 2017 through

March 2018 and April 2018 through September 2018 assessed at the rate of ll/z% per month in

accordance with the Trust Agreement and continuing to accrue on the unpaid contributions through

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the date of payment

16. The Trust Agreement establishing the Plaintiff Asbestos Workers Locals 80 and 51

Supplemental Pension Plan (hereinafter “Supplemental Pension Fund”) provides as follows:
If an Employer fails to file reports or make contributions within ten (10)
calendar days of the due date, the following, in the discretion of the
Trustees, will be added to and become a part of the amount due from
the Employer: (1) liquidated damages for each monthly report or
payment due in the amount of twenty percent (20%) of the amount due
or 20 doilars, whichever is greater, plus interest at the rate of eight
percent (8%) from the due date to the date of payment; or (2) double
interest as provided in ERISA.

17. Pursuant to this provision, Defendant is obligated to the Plaintiff Supplemental
Pension Fund for liquidated damages in the amount of $6,520.67 and interest in the amount of
$206.43 assessed on the late payments for the months of December 2017 through l\/larch 2018 and
April 2018 through September 2018. Liquidated damages have been assessed at the rate of 20%
or 320.00 dollars, whichever is greater, and interest has been assessed at the rate of 8% per
annum. Interest will continue to accrue on the unpaid contributions through the date of payment

WHEREFORE, in Count l, Plaintiff NAW Funds pray for Judgment against the Defendant
as follows:

A. In the amount of $43,822.31 in contributions due for work performed in July 2018
through September 2018, plus costs and reasonable attorneys1 fees pursuant to the Trust
Agreements and 29 U.S.C. § 1132(g).

B. ln the amount of $6,520.67 in liquidated damages and $2,182.15 in interest assessed
on the late payments for the months of December 2017, January 2018 and March 2018 through
September 2018 pursuant to the Trust Agreements and 29 U.S.C. § l 132(g).

C. For all contributions, liquidated damages and interest which become due subsequent

to the filing of this action through the date of Iudgment pursuant to the Collective Bargaining
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Agreement, Trust Agreements and 29 U.S.C. § ll32(g).

D. For such further relief as the Court may deem appropriate
Respectfully submitted,

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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Complaint has been served by certified mail,
as required by 502(h) of the Employee Retirement income Security Act of 1974, 29 U.S.C.
§ 1132(h) this 18th day of October, 2018 on the following:

The Office of Division Counsel

Associate Chief Counsel (TE/GE) CC: TEGE
Room 4300

l l l l Constitution Avenue

Washington, DC 20224

Attention: Employee Plans

Secretary of Labor

200 Constitution Avenue, N.W.

Washington, DC 20210

ATTENTION: Assistant Solicitor for
Plan Benefits Security

/s/
Charles W. Gilligan

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